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8
9                         UNITED STATES DISTRICT COURT

10                      SOUTHERN DISTRICT OF CALIFORNIA

11
     RAUL URIARTE-LIMON,                      Case No.: '24CV0521 JLS BGS
12
13               Plaintiff,                   COMPLAINT FOR:
14      vs.                                   DENIAL OF CIVIL RIGHTS AND
                                              ACCESS TO PUBLIC FACILITIES
15                                            TO PHYSICALLY DISABLED
                                              PERSONS IN VIOLATION OF THE
16   SUN AUTO TIRE & SERVICE, INC., a         AMERICANS WITH DISABILITIES
     Delaware corporation dba EVANS TIRE      ACT OF 1990, (42 U.S.C. §12101, et
17                                            seq.) AND THE UNRUH CIVIL
     AND SERVICE CENTERS; STREET              RIGHTS ACT, (CALIFORNIA CIVIL
18   PROPERTIES INC, a California             CODE §51, et seq.)
     corporation; and DOES 1-10,
19                                            DEMAND FOR JURY TRIAL
20               Defendants.

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                                       COMPLAINT - 1
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1         “[T]he continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on an
2
          equal basis and to pursue those opportunities for which our free society
3         is justifiably famous.” 42 U.S.C. §12101(a)(8).
4
          “It is the policy of this state to encourage and enable individuals with a
5         disability to participate fully in the social and economic life of the state ...”
6         California Government Code §19230(a).

7
           Plaintiff RAUL URIARTE-LIMON (hereinafter referred to as “Plaintiff”)
8
     complains of SUN AUTO TIRE & SERVICE, INC., a Delaware corporation dba
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     EVANS TIRE AND SERVICE CENTERS; STREET PROPERTIES INC, a California
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     corporation; and DOES 1-10, (each, individually a “Defendant” and collectively
11
     “Defendants”) and alleges as follows:
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                                        I.      PARTIES
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           1.     Plaintiff RAUL URIARTE-LIMON is a California resident and a
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     qualified physically disabled person. He cannot walk due to paraplegia and uses a
15
     wheelchair for mobility. Plaintiff prides himself on his independence and on
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     empowering other disabled persons to be independent.
17
           2.     Defendants SUN AUTO TIRE & SERVICE, INC., STREET
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     PROPERTIES INC., and DOES 1-10 are and were the owners, operators, lessors
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     and/or lessees of the subject business, property, and facility at all times relevant in
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     this Complaint.
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           3.     Plaintiff does not know the true names of Defendants, their business
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     capacities, their ownership connection to the property and business, or their
23
     relative responsibilities in causing the access violations herein complained of, and
24
     alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
25
     informed and believes that each of the Defendants herein, including DOES 1
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     through 10, inclusive, is responsible in some capacity for the events herein alleged,
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     or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
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                                             COMPLAINT - 2
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1    amend when the true names, capacities, connections, and responsibilities of the
2    Defendants and Does 1 through 10, inclusive, are ascertained.
3           4.     Defendants own and owned the property located at 399 Broadway
4    Chula Vista, CA 91910 (“Subject Property”) at all relevant times.
5           5.     Defendants operate and operated an auto repair shop doing business as
6    EVANS TIRES AND SERVICE CENTERS (“auto repair shop”), located at the
7    Subject Property, at all relevant times.
8           6.     Plaintiff alleges that the Defendants have been and are the owners,
9    franchisees, lessees, general partners, limited partners, agents, trustees, employees,
10   subsidiaries, partner companies and/or joint ventures of each of the other
11   Defendants, and performed all acts and omissions stated herein within the course
12   and scope of such relationships causing the damages complained of herein.
13                           II.    JURISDICTION AND VENUE
14          7.     This Court has subject matter jurisdiction over this action pursuant to
15   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, U.S.C. §12101, et seq.
17          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising out of the same nucleus of operative facts and arising out of the
19   same transactions, is also brought under California’s Unruh Civil Rights Act,
20   which expressly incorporates the Americans with Disabilities Act.
21          9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
22   and is founded on the fact that the real property which is the subject of this action
23   is located in this district and that Plaintiff’s causes of action arose in this district.
24                                         III.   FACTS
25          10.    Plaintiff uses a wheelchair for mobility.
26          11.    Defendants’ business is open to the public, a place of public
27   accommodation, and a business establishment.
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                                            COMPLAINT - 3
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1          12.    Plaintiff went to the auto repair shop on March 6, 2024, and purchased
2    a four-tire rotation. The receipt he received for this service is shown in the photo
3    below.
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21         13.    Unfortunately, during Plaintiff’s visit, Defendants did not offer

22   persons with disabilities equivalent facilities, privileges, advantages, and

23   accommodations offered to other persons.

24         14.    Plaintiff encountered barriers that interfered with and denied Plaintiff

25   the ability to use and enjoy the goods, services, privileges, advantages, and

26   accommodations offered by Defendants at the Subject Property.

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                                          COMPLAINT - 4
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1          15.    These barriers violate one or more standards of the Americans with
2    Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
3    CBC”).
4          16.    Parking for patrons visiting the Subject Property is among the
5    facilities, privileges, advantages, and accommodations offered by Defendants.
6          17.    According to the U.S. Department of Justice, “a public
7    accommodation’s first priority should be to enable individuals with disabilities to
8    physically enter its facility. This priority on ‘getting through the door’ recognizes
9    that providing physical access to a facility from public sidewalks, public
10   transportation, or parking is generally preferable to any alternative arrangements in
11   terms of both business efficiency and the dignity of individuals with disabilities.”
12   ADA Title III Technical Assistance Manual §III-4.4500.
13         18.    When parking is provided, there must be at least one accessible
14   parking space designated and marked for disabled persons. 2010 ADA §208.2;
15   2022; 2010 ADA §502 et seq.; CBC 11B-208.2; 2022 CBC 11B-502 et seq.
16         19.    There is no ADA compliant “Van Accessible” parking or access aisle.
17   ADA 2010 §502; 2022 CBC 11B-502.
18         20.    It appears there may have once been a designated accessible parking
19   space, as there is a wheel stop painted blue, but the paint on the ground is now
20   entirely faded. There is no way to determine the actual dimensions of the space and
21   whether there is an adjacent loading and unloading access aisle the correct width
22   for an accessible space. The International Access Symbol is missing. ADA 2010
23   §502.3.3; ADA 2010 §502.6; 2022 CBC 11B-502.3.3; 2022 CBC 11B 502.6; 28
24   C.F.R. §36.211(a); 2022 CBC 11B-108.
25         21.    There is no ADA compliant parking signage. ADA 2010 §502.6; 2022
26   CBC 11B-502.6, 2022 CBC 11B-703.7.2.1.
27         22.    There is no sign in a conspicuous place at the entrance to the facility,
28   or immediately adjacent to on-site accessible parking and visible from each

                                          COMPLAINT - 5
     Case 3:24-cv-00521-JLS-BGS Document 1 Filed 03/19/24 PageID.6 Page 6 of 16




1    parking space, stating that vehicles parked in designated accessible spaces not
2    displaying a disabled placard or license plate will be towed. 2022 CBC 11B-502.8.
3          23.    The photo below shows one or more of these violations.
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16         24.    The barriers existed during Plaintiff’s visit to the Subject Property.
17   Plaintiff personally encountered these barriers.
18         25.    These inaccessible conditions and barriers denied Plaintiff full and
19   equal access and caused him difficulty, discomfort, and embarrassment. Because of
20   the lack of compliant parking, Plaintiff was placed at risk of being blocked in by
21   other vehicles and unable to get out of his vehicle or get back into it. He was also
22   at greater risk of being hit by a car while transferring to and from his wheelchair.
23         26.    These barriers denied Plaintiff full and equal access due to his
24   disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
25   and embarrassment which patrons who do not use a wheelchair for mobility do not
26   suffer when they access the Subject Property.
27         27.    Plaintiff intends to return to the Subject Property in the near future.
28   Plaintiff is currently deterred from returning because of the knowledge of the

                                          COMPLAINT - 6
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1    barriers to equal access that relate to Plaintiff’s disabilities which continue to exist
2    at Defendants’ public accommodation facilities.
3              28.   Plaintiff alleges that Defendants knew that the barriers prevented
4    equal access. Plaintiff further alleges that Defendants had actual or constructive
5    knowledge that the architectural barriers prevented equal access, and that the
6    noncompliance with the Americans with Disabilities Act and Title 24 of the
7    California Building Code regarding accessible features was intentional.
8              29.   Defendants have obstructed or failed to maintain, in working and
9    useable conditions, those features necessary to provide ready access to persons
10   with disabilities. “A public accommodation shall maintain in operable working
11   condition those features of facilities and equipment that are required to be readily
12   accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
13   CBC 11B-108.
14             30.   The State of California Department of General Servicers, Division of
15   the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:
16             Features for accessibility must be permanently functional, unobstructed
               and may not be removed. It is not sufficient to provide features such as
17
               accessible routes, parking, elevators, ramps or signage if those features
18             are not maintained in a manner that enables individuals with disabilities
19             to use them.

20   DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
21             31.   Defendants have the financial resources to remove these barriers
22   without much expense or difficulty in order to make their property more accessible
23   to their mobility impaired customers. The United States Department of Justice has
24   identified that these types of barriers are readily achievable to remove.
25             32.   To date, Defendants refuse to remove these barriers, in violation of
26   the law, willfully depriving disabled persons including Plaintiff of important civil
27   rights.
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                                             COMPLAINT - 7
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1          33.    On information and belief, Plaintiff alleges that the Defendants’
2    failure to remove these barriers was intentional because the barriers are logical and
3    obvious. During all relevant times Defendants had authority, control, and dominion
4    over these conditions and therefore the absence of accessible facilities was not a
5    mishap, but rather an intentional act.
6          34.    The barriers to access are listed above without prejudice to Plaintiff
7    citing additional barriers to equal access by an amended complaint after inspection
8    by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,
9    654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
10   2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
11   All of these barriers to access render the premises inaccessible to physically
12   disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff
13   may encounter when he returns to the premises. All public accommodations must
14   be brought into compliance with all applicable federal and state accessibility
15   requirements.
16                              FIRST CAUSE OF ACTION
17                Violation of the Americans With Disabilities Act of 1990
18                                (42 U.S.C. §12101, et seq.)
19                                 (Against All Defendants)
20         35.    Plaintiff alleges and incorporates by reference, as if fully set forth
21   again herein, each and every allegation contained in all prior paragraphs of this
22   complaint.
23         36.    More than thirty years ago, the 101st United States Congress found
24   that although “physical or mental disabilities in no way diminish a person’s right to
25   fully participate in all aspects of society, yet many people with physical or mental
26   disabilities have been precluded from doing so because of discrimination…in such
27   critical areas as employment, housing, public accommodations, education,
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1    transportation, communication, recreation, institutionalization, health services,
2    voting, and access to public services.” 42 U.S.C. §12101(a).
3          37.    In 1990 Congress also found that “the Nation’s proper goals regarding
4    individuals with disabilities are to assure equality of opportunity, full participation,
5    independent living, and economic self-sufficiency for such individuals,” but that
6    “the continuing existence of unfair and unnecessary discrimination and prejudice
7    denies people with disabilities the opportunity to compete on an equal basis and to
8    pursue those opportunities for which our free society is justifiably famous.” 42
9    U.S.C. §12101(a).
10         38.    In passing the Americans with Disabilities Act of 1990, which was
11   signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
12   “ADA”), Congress stated as its purpose:
13         “It is the purpose of this Act
14
           (1) to provide a clear and comprehensive national mandate for the
15         elimination of discrimination against individuals with disabilities;
16
           (2) to provide clear, strong, consistent, enforceable standards
17         addressing discrimination against individuals with disabilities;
18
           (3) to ensure that the Federal Government plays a central role in
19         enforcing the standards established in this Act on behalf of individuals
20         with disabilities; and

21         (4) to invoke the sweep of congressional authority, including the power
22         to enforce the fourteenth amendment and to regulate commerce, in
           order to address the major areas of discrimination faced day to-day by
23         people with disabilities.”
24
     42 USC §12101(b).
25
26         39.    As part of the ADA, Congress passed “Title III – Public
27   Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
28   seq.). Title III of the ADA prohibits discrimination against any person “on the

                                            COMPLAINT - 9
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1    basis of disability in the full and equal enjoyment of the goods, services, facilities,
2    privileges, advantages, or accommodations of any place of public accommodation
3    by any person who owns, leases (or leases to), or operates a place of public
4    accommodation.” 42 U.S.C. §12182(a).
5          40.    The specific prohibitions against discrimination include, inter alia, the
6    following:
7       • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
8         shall be discriminatory to afford an individual or class of individuals,
          on the basis of a disability or disabilities of such individual or class,
9         directly, or through contractual, licensing, or other arrangements, with
10        the opportunity to participate in or benefit from a good, service, facility,
          privilege, advantage, or accommodation that is not equal to that
11        afforded to other individuals.”
12
        • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
13        modifications in policies, practices, or procedures when such
14        modifications are necessary to afford such goods, services, facilities,
          privileges, advantages, or accommodations to individuals with
15        disabilities...;”
16
        • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
17        necessary to ensure that no individual with a disability is excluded,
18        denied service, segregated, or otherwise treated differently than other
          individuals because of the absence of auxiliary aids and services...;”
19
20      • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
          barriers, and communication barriers that are structural in nature, in
21
          existing facilities... where such removal is readily achievable;”
22
23      • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
          the removal of a barrier under clause (iv) is not readily achievable, a
24        failure to make such goods, services, facilities, privileges, advantages,
25        or accommodations available through alternative methods if such
          methods are readily achievable.”
26
27         41.    Plaintiff is a qualified individual with a disability as defined in the
28   Rehabilitation Act and in the Americans with Disabilities Act of 1990.

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1          42.    The acts and omissions of Defendants set forth herein were in
2    violation of Plaintiff’s rights under the ADA and the regulations promulgated
3    thereunder, 28 C.F.R. Part 36 et seq.
4          43.    The removal of each of the physical and policy barriers complained of
5    by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
6    achievable” under the standards of §12181 and §12182 of the ADA. Removal of
7    each and every one of the architectural and/or policy barriers complained of herein
8    was already required under California law. Further, on information and belief,
9    alterations, structural repairs or additions since January 26, 1993, have also
10   independently triggered requirements for removal of barriers to access for disabled
11   persons per §12183 of the ADA. In the event that removal of any barrier is found
12   to be “not readily achievable,” Defendants still violated the ADA, per
13   §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
14   and accommodations through alternative methods that were “readily achievable.”
15         44.    On information and belief, as of the date of Plaintiff’s encounter at the
16   premises and as of the filing of this Complaint, Defendants’ actions, policies, and
17   physical premises have denied and continue to deny full and equal access to
18   Plaintiff and to other mobility disabled persons in other respects, which violate
19   Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
20   the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
21   enjoyment of the goods, services, facilities, privileges, advantages and
22   accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
23         45.    Defendants’ actions continue to deny Plaintiff’s rights to full and
24   equal access and discriminated and continue to discriminate against him on the
25   basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
26   enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
27   accommodations, in violation of the ADA, 42 U.S.C. §12182.
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                                          COMPLAINT - 11
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1           46.    Further, each and every violation of the Americans With Disabilities
2    Act of 1990 also constitutes a separate and distinct violation of California Civil
3    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
4    damages and injunctive relief pursuant to California law, including but not limited
5    to Civil Code §54.3 and §55.
6                              SECOND CAUSE OF ACTION
7                           Violation of the Unruh Civil Rights Act
8                              (California Civil Code §51, et seq.)
9                                   (Against All Defendants)
10          47.    Plaintiff alleges and incorporates by reference, as if fully set forth
11   again herein, each and every allegation contained in all prior paragraphs of this
12   complaint.
13          48.    California Civil Code §51 provides that physically disabled persons
14   are free and equal citizens of the state, regardless of their medical condition or
15   disability:
16          All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
17
            disability, or medical condition are entitled to full and equal
18          accommodations, advantages, facilities, privileges, or services in all
19          business establishments of every kind whatsoever.

20   California Civil Code §51(b) (emphasis added).
21          49.    California Civil Code §51.5 also states, in part: “No business,
22   establishment of any kind whatsoever shall discriminate against…any person in
23   this state on account” of their disability.
24          50.    California Civil Code §51(f) specifically incorporates (by reference)
25   an individual’s rights under the ADA into the Unruh Act.
26          51.    California Civil Code §52 provides that the discrimination by
27   Defendants against Plaintiff on the basis of his disability constitutes a violation of
28   the general antidiscrimination provisions of §51 and §52.

                                           COMPLAINT - 12
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1           52.   Each of Defendants’ discriminatory acts or omissions constitutes a
2    separate and distinct violation of California Civil Code §52, which provides that:
3           Whoever denies, aids or incites a denial, or makes any discrimination
            or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
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            every offense for the actual damages, and any amount that may be
5           determined by a jury, or a court sitting without a jury, up to a maximum
            of three times the amount of actual damage but in no case less than four
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            thousand dollars ($4,000), and any attorney’s fees that may be
7           determined by the court in addition thereto, suffered by any person
8           denied the rights provided in Section 51, 51.5, or 51.6.

9           53.   Any violation of the Americans with Disabilities Act of 1990
10   constitutes a violation of California Civil Code §51(f), thus independently
11   justifying an award of damages and injunctive relief pursuant to California law,
12   including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
13   individual under the Americans with Disabilities Act of 1990 (Public Law 101-
14   336) shall also constitute a violation of this section.”
15          54.   The actions and omissions of Defendants as herein alleged constitute a
16   denial of access to and use of the described public facilities by physically disabled
17   persons within the meaning of California Civil Code §51 and §52.
18          55.   The discriminatory denial of equal access to and use of the described
19   public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
20          56.   As a proximate result of Defendants’ action and omissions,
21   Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
22   §52, and are responsible for statutory, compensatory and actual damages to
23   Plaintiff, according to proof.
24                                    PRAYER FOR RELIEF
25          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
26    forth in this Complaint. Plaintiff has suffered and will continue to suffer
27    irreparable injury as a result of the unlawful acts, omissions, policies, and
28    practices of the Defendants as alleged herein, unless Plaintiff is granted the relief

                                          COMPLAINT - 13
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1     he requests. Plaintiff and Defendants have an actual controversy and opposing
2     legal positions as to Defendants’ violations of the laws of the United States and
3     the State of California.
4           The need for relief is critical because the civil rights at issue are paramount
5     under the laws of the United States of America and the State of California.
6           WHEREFORE, Plaintiff prays judgment against Defendants, and each of
7     them, as follows:
8                 1.      Issue a preliminary and permanent injunction directing
9           Defendants as current owners, operators, lessors, and/or lessees of the
10          Subject Property and premises to modify the above described property,
11          premises, policies and related facilities to provide full and equal access
12          to all persons, including persons with physical disabilities; and issue a
13          preliminary and permanent injunction pursuant to ADA §12188(a) and
14          state law directing Defendants to provide facilities and services usable
15          by Plaintiff and similarly situated persons with disabilities, and which
16          provide full and equal access, as required by law, and to maintain such
17          accessible facilities once they are provided; to cease any discriminatory
18          policies; and to train Defendants’ employees and agents how to
19          recognize disabled persons and accommodate their rights and needs;
20                2.      Retain jurisdiction over the Defendants until such time as
21          the Court is satisfied that Defendants’ unlawful policies, practices, acts
22          and omissions, and maintenance of physically inaccessible public
23          facilities and policies as complained of herein no longer occur, and
24          cannot recur;
25                3.      Award to Plaintiff all appropriate damages, including but
26          not limited to actual and statutory damages according to proof;
27
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                                          COMPLAINT - 14
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1               4.      Award to Plaintiff all reasonable attorney fees, litigation
2          expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
3          California Civil Code §52; and
4               5.      Grant such other and further relief as this Court may deem
5          just and proper.
6
7
     DATED: March 19, 2024                         VALENTI LAW APC
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9                                            By: /s/ Matthew D. Valenti
10                                               Matthew D. Valenti
11                                               Attorney for Plaintiff Raul Uriarte-
                                                 Limon
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                                        COMPLAINT - 15
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1                                     JURY DEMAND
2           Plaintiff hereby demands a trial by jury for all claims and issues for which a
3     jury is permitted.
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6
     DATED: March 19, 2024                          VALENTI LAW APC
7
8                                             By: /s/ Matthew D. Valenti
9                                                 Matthew D. Valenti
10                                                Attorney for Plaintiff Raul Uriarte-
                                                  Limon
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                                         COMPLAINT - 16
